                                                                    Case 1:13-cv-00966-RJL                          Document 152-6                    Filed 05/30/23               Page 1 of 8
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                                                Procedures’’, prior to any FAA final                       DEPARTMENT OF HOUSING AND                              viewed by other commenters and
                                                regulatory action.                                         URBAN DEVELOPMENT                                      interested members of the public.
                                                                                                                                                                  Commenters should follow the
                                                Lists of Subjects in 14 CFR Part 71                        24 CFR Part 100                                        instructions provided on that site to
                                                 Airspace, Incorporation by reference,                                                                            submit comments electronically.
                                                                                                           [Docket No. FR–6251–P–01]
                                                Navigation (air).                                                                                                    2. Submission of Comments by Mail.
                                                                                                           RIN 2529–AB02                                          Comments may be submitted by mail to
                                                The Proposed Amendment                                                                                            the Regulations Division, Office of
                                                                                                           Reinstatement of HUD’s Discriminatory                  General Counsel, Department of
                                                  In consideration of the foregoing, the                   Effects Standard                                       Housing and Urban Development, 451
                                                Federal Aviation Administration                                                                                   7th Street SW, Room 10276,
                                                proposes to amend 14 CFR part 71 as                        AGENCY: Office of the Assistant
                                                                                                                                                                  Washington, DC 20410–0500.
                                                follows:                                                   Secretary for Fair Housing and Equal                      Note: To receive consideration as
                                                                                                           Opportunity, HUD.                                      public comments, comments must be
                                                PART 71—DESIGNATION OF CLASS A,                            ACTION: Proposed rule.                                 submitted through one of the two
                                                B, C, D, AND E AIRSPACE AREAS; AIR                                                                                methods specified above. Again, all
                                                TRAFFIC SERVICE ROUTES; AND                                SUMMARY: In 2020, HUD published a
                                                                                                                                                                  submissions must refer to the docket
                                                REPORTING POINTS                                           rule titled ‘‘HUD’s Implementation of
                                                                                                                                                                  number and title of the rule.
                                                                                                           the Fair Housing Act’s Disparate Impact                   No Facsimile Comments. Facsimile
                                                                                                           Standard’’ (‘‘2020 Rule’’). Prior to the               (FAX) comments are not acceptable.
                                                ■ 1. The authority citation for part 71
                                                                                                           effective date of the 2020 rule, the U.S.                 Public Inspection of Public
                                                continues to read as follows:                              District Court for the District of                     Comments. All properly submitted
                                                  Authority: 49 U.S.C. 106(f), 106(g); 40103,              Massachusetts issued a preliminary                     comments and communications
                                                40113, 40120; E.O. 10854, 24 FR 9565, 3 CFR,               injunction in Massachusetts Fair                       submitted to HUD will be available for
                                                1959–1963 Comp., p. 389.                                   Housing Center v. HUD, staying HUD’s                   public inspection and copying between
                                                                                                           implementation and enforcement of the                  8 a.m. and 5 p.m. weekdays at the above
                                                § 71.1       [Amended]
                                                                                                           rule. Consequently, the 2020 Rule never                address. Due to security measures at the
                                                ■ 2. The incorporation by reference in                     took effect. After reconsidering the 2020              HUD Headquarters building, an
                                                14 CFR 71.1 of Federal Aviation                            Rule, HUD is proposing to recodify its                 appointment to review the public
                                                Administration Order 7400.11E,                             previously promulgated rule titled,                    comments must be scheduled in
                                                Airspace Designations and Reporting                        ‘‘Implementation of the Fair Housing                   advance by calling the Regulations
                                                Points, dated July 21, 2020, and                           Act’s Discriminatory Effects Standard’’                Division at 202–708–3055 (this is not a
                                                effective September 15, 2020, is                           (‘‘2013 Rule’’), which, as of the date of              toll-free number). Individuals with
                                                amended as follows:                                        publication of this Proposed Rule,                     speech or hearing impairments may
                                                                                                           remains in effect due to the preliminary               access this number via TTY by calling
                                                Paragraph 6005 Class E Airspace Areas                      injunction. HUD believes the 2013 Rule
                                                Extending Upward From 700 Feet or More
                                                                                                                                                                  the Federal Relay Service at 800–877–
                                                                                                           better states Fair Housing Act                         8339. Copies of all comments submitted
                                                Above the Surface of the Earth.                            jurisprudence and is more consistent                   are available for inspection and
                                                *        *      *       *      *                           with the Fair Housing Act’s remedial                   downloading at www.regulations.gov.
                                                                                                           purposes.
                                                ASO AL E5        Tuscaloosa, AL [Amend]                                                                           FOR FURTHER INFORMATION CONTACT:
                                                Tuscaloosa National Airport, AL                            DATES: Comment due date: August 24,                    Kathleen M. Pennington, Acting
                                                   (Lat. 33°13′14″ N, long. 87°36′41″ W)                   2021.                                                  Associate General Counsel for Fair
                                                   That airspace extending upward from 700                 ADDRESSES: Interested persons are                      Housing, Office of General Counsel, U.S.
                                                feet above the surface within a 9.4-mile                   invited to submit written comments                     Department of Housing and Urban
                                                radius of Tuscaloosa National Airport and                  regarding this rule to the Regulations                 Development, 451 7th Street SW,
                                                within 4.0 miles each side of the 117° bearing             Division, Office of General Counsel,                   Washington, DC 20410–0500, email
                                                from the airport extending from the 9.4-mile               Department of Housing and Urban                        HUDDisparateImpact2021@hud.gov or
                                                radius to 11.8 miles southeast of the airport              Development, 451 7th Street SW, Room                   telephone number 202–402–3330 (this
                                                and within 2.0 miles each side of the of the               10276, Washington, DC 20410. All                       is not a toll-free number). Persons with
                                                041° bearing extending from the 9.4-mile                   communications should refer to the                     hearing and speech impairments may
                                                radius to 11.5 miles northeast of the airport              above docket number and title. There                   contact this phone number via TTY by
                                                and within 4.0 miles each side of the 296°                 are two methods for submitting public                  calling the Federal Relay Service at 800–
                                                bearing extending from the 9.4-mile radius to              comments.                                              877–8399 (this is a toll-free number).
                                                10.8 miles northwest of the airport and                      1. Electronic Submission of                          SUPPLEMENTARY INFORMATION:
                                                within 2.0 miles each side of the 221° bearing             Comments. Interested persons may                       I. Background
                                                extending from the 9.4-mile radius to 11.8                 submit comments electronically through
                                                miles southwest of the airport.                            the Federal eRulemaking Portal at                         Title VIII of the Civil Rights Act of
                                                                                                           www.regulations.gov. HUD strongly                      1968, as amended (‘‘Fair Housing Act’’
                                                  Issued in College Park, Georgia, on June 21,
                                                                                                           encourages commenters to submit                        or ‘‘Act’’), prohibits discrimination in
                                                2021.
                                                                                                           comments electronically. Electronic                    the sale, rental, or financing of
                                                Andreese C. Davis,                                                                                                dwellings and in other housing-related
                                                                                                           submission of comments allows the
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                                                Manager, Airspace & Procedures Team South,                                                                        activities because of race, color, religion,
                                                                                                           commenter maximum time to prepare
                                                Eastern Service Center, Air Traffic                                                                               sex, disability, familial status, or
                                                Organization.
                                                                                                           and submit a comment, ensures timely
                                                                                                           receipt by HUD, and enables HUD to                     national origin.1 Through the Fair
                                                [FR Doc. 2021–13492 Filed 6–24–21; 8:45 am]
                                                                                                           make them immediately available to the                    1 42 U.S.C. 3601–3619, 3631. This preamble uses
                                                BILLING CODE 4910–13–P                                     public. Comments submitted                             the term ‘‘disability’’ to refer to what the Act and
                                                                                                           electronically through the                             its implementing regulations term a ‘‘handicap’’
                                                                                                           www.regulations.gov website can be                     because that is the preferred term. See, e.g., Hunt


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                                                Housing Act, Congress codified its                        policy or practice was not adopted for                     as did many federal courts of appeals
                                                remedial purpose, providing that ‘‘[i]t is                a discriminatory purpose.9 As the Sixth                    prior to the 2013 Rule.14 Thus, HUD’s
                                                the policy of the United States to                        Circuit explained, the Act ‘‘proscribes                    2013 Rule simply codified a familiar
                                                provide, within constitutional                            not only overt discrimination but also                     standard.
                                                limitations, for fair housing throughout                  practices that are fair in form, but
                                                                                                                                                                     HUD’s 2013 Discriminatory Effects Rule
                                                the United States.’’ 2 The Act’s                          discriminatory in operation.’’ 10
                                                protections are meant to be ‘‘broad and                      HUD had for decades—consistent                             In February 2013, after notice and
                                                inclusive.’’ 3 Congress passed the Act in                 with this judicial consensus—                              public comment, and taking decades of
                                                the wake of the assassination of Dr.                      concluded that facially neutral practices                  caselaw into consideration, HUD
                                                Martin Luther King, Jr., recognizing that                 that have an unjustified discriminatory                    published the 2013 Rule, which
                                                ‘‘residential segregation and unequal                     effect on the basis of a protected                         ‘‘formalize[d] its long-held recognition
                                                housing and economic conditions in the                    characteristic, regardless of intent,                      of discriminatory effects liability under
                                                inner cities’’ were ‘‘significant,                        violate the Act.11 For example, in 1994,                   the Act and, for purposes of providing
                                                underlying causes of the social unrest’’ 4                HUD, along with nine other agencies                        consistency nationwide, formalize[d] a
                                                and that both open and covert race                        and the Department of Justice, issued a                    burden-shifting test for determining
                                                discrimination were preventing                            joint policy statement that recognized                     whether a given practice has an
                                                integrated communities.5 As the                           disparate impact liability under the                       unjustified discriminatory effect,
                                                Supreme Court reiterated more recently,                   Act.12                                                     leading to liability under the Act.’’ 15 In
                                                the Act’s expansive purpose is to                            Although there had been some minor                      promulgating the 2013 Rule, HUD noted
                                                ‘‘eradicate discriminatory practices                      variation in the application of the                        the Act’s ‘‘broad remedial intent;’’ 16
                                                within a sector of the Nation’s                           discriminatory effects framework prior                     HUD’s prior positions, including that
                                                economy’’ and to combat and prevent                       to the 2013 Rule, HUD and the federal                      discriminatory effects liability was
                                                segregation and discrimination in                         appellate courts were largely in                           ‘‘imperative to the success of the civil
                                                housing.6 Congress considered the                         agreement. HUD has always used a                           rights law enforcement;’’ 17 and the
                                                realization of this policy ‘‘to be of the                 three-step burden-shifting approach,13                     consistent application of discriminatory
                                                highest priority.’’ 7                                                                                                effects liability in the four previous
                                                   The Act gives HUD the authority and                       9 See, e.g., Graoch Assocs. # 33, L.P. v. Louisville/   decades (with minor variations) by
                                                responsibility for administering and                      Jefferson County Metro Human Relations Comm’n,             HUD, the Department of Justice, nine
                                                                                                          508 F.3d 366, 378 (6th Cir. 2007) (citing Arthur v.
                                                enforcing the Act, including the                          City of Toledo, 782 F.2d 565, 575 (6th Cir. 1986));
                                                                                                                                                                     other federal agencies, and federal
                                                authority to conduct formal                               Hallmark Developers, Inc. v. Fulton County, Ga.,           courts.18
                                                adjudications of complaints and to                        466 F.3d 1276, 1286 (11th Cir. 2006) (citing Hous.            Among other things, the 2013 Rule
                                                promulgate rules to interpret and carry                   Investors, Inc. v. City of Clanton, Ala., 68 F. Supp.      codified a three-part burden-shifting
                                                                                                          2d 1287, 1298 (M.D. Ala. 1999)); Huntington                framework consistent with frameworks
                                                out the Act.8 Through that authority,                     Branch, NAACP v. Town of Huntington, 844 F.2d
                                                HUD proposes this rulemaking.                             926, 937 (2nd Cir. 1988) (citing Metro Hous. Dev.          on which HUD and courts had long
                                                                                                          Corp. v. Vill. of Arlington Heights, 558 F.2d 1283,        relied: (1) The plaintiff or charging party
                                                Discriminatory Effects Law Under the                      1290 (7th Cir. 1977), aff’d, 488 U.S. 15 (1988) (per       is first required to prove as part of the
                                                Fair Housing Act Prior to HUD’s 2013                      curium); Betsey v. Turtle Creek Assocs., 736 F.2d
                                                                                                                                                                     prima facie showing that a challenged
                                                Rule                                                      983, 987 n.3 (4th Cir. 1984) (citing Metro Hous. Dev.
                                                                                                          Corp v. Vill. of Arlington Heights, 558 F.2d 1283,         practice caused or predictably will
                                                   HUD’s 2013 Rule broke no new                           1290 (7th Cir. 1977)); Metro. Housing Dev. Corp. v.        cause a discriminatory effect; (2) if the
                                                ground, but instead largely codified                      Village of Arlington Heights, 558 F.2d 1283, 1290          plaintiff or charging party makes this
                                                                                                          (7th Cir. 1977) (citing Trafficante v. Metropolitan
                                                longstanding judicial and agency                          Life Ins. Co., 409 U.S. 205, 209–10 (1972)); United
                                                                                                                                                                     prima facie showing, the defendant or
                                                consensus regarding discriminatory                        States. v. City of Black Jack, Missouri, 508 F. 2d         respondent must then prove that the
                                                effects law. Courts had long found that                   1179, 1184–86 (8th Cir. 1974).                             challenged practice is necessary to
                                                discrimination under the Act may be                          10 Graoch Assocs. #33, L.P., 508 F.3d at 374
                                                                                                                                                                     achieve one or more substantial,
                                                established through evidence of                           (quoting Griggs v. Duke Power Co., 401 U.S. 424,
                                                                                                          431 (1971) (a Title VII case)).
                                                discriminatory effects, i.e., facially                       11 78 FR, 11460, 11461 (Feb. 15, 2013) (citing, e.g.,
                                                                                                                                                                     Village Apts., 2001 WL 1632533, at *17 (HUD ALJ
                                                neutral practices with an unjustified                                                                                Nov. 9, 2001); see also Policy Statement on
                                                                                                          HUD v. Twinbrook Village Apts., No. 02–00025600–
                                                                                                                                                                     Discrimination in Lending, 59 FR. 18266, 18269
                                                discriminatory effect. Indeed, all federal                0256–8, 2001 WL 1632533, at *17 (HUD ALJ Nov.
                                                                                                                                                                     (Apr. 15, 1994) (applying three-step test without
                                                courts of appeals to have addressed the                   9, 2001) (‘‘A violation of the [Act] may be premised
                                                                                                                                                                     specifying where the burden lies at each step).
                                                                                                          on a theory of disparate impact.’’); HUD v. Carlson,
                                                question had held that liability under                    No. 08–91–0077–1, 1995 WL 365009 (HUD ALJ
                                                                                                                                                                        14 See, e.g., Oti Kaga, Inc. v. S. Dakota Hous. Dev.

                                                the Act could be established by a                         June 12, 1995) (‘‘A policy or practice that is neutral     Auth., 342 F.3d 871, 883 (8th Cir. 2003); Lapid
                                                                                                                                                                     –Laurel, L.L.C. v. Zoning Bd. of Adjustment, 284
                                                showing that a neutral policy or practice                 on its face may be found to be violative of the Act
                                                                                                                                                                     F.3d 442, 466–67 (3d Cir. 2002); Langlois v.
                                                either has a disparate impact on a                        if the record establishes a prima facie case that the
                                                                                                          policy or practice has a disparate impact on               Abington Hous. Auth., 207 F.3d 43, 49–50 (1st Cir.
                                                protected group or creates, perpetuates,                  members of a protected class, and the Respondent           2000); Huntington Branch NAACP v. Town of
                                                or increases segregation, even if such a                  cannot prove that the policy is justified by business      Huntington, 844 F.2d 926, 939 (2d Cir. 1988).
                                                                                                                                                                        15 78 FR 11460.
                                                                                                          necessity.’’); HUD v. Ross, No. 01–92–0466–18,
                                                                                                          1994 WL 326437, at *5 (HUD ALJ July 7, 1994)                  16 See also 2011 Notice of Proposed Rulemaking,
                                                v. Aimco Props., L.P., 814 F.3d 1213, n.1 (11th Cir.
                                                2016) (noting the term disability is generally            (‘‘Absent a showing of business necessity, facially        76 FR 70911, 70922 (Nov. 16, 2011) (‘‘In keeping
                                                preferred over handicap).                                 neutral policies which have a discriminatory               with the ‘broad remedial intent’ of Congress in
                                                   2 42 U.S.C. 3601.                                      impact on a protected class violate the Act.’’); HUD       passing the Fair Housing Act, and consequently the
                                                   3 Trafficante v. Metro. Life Ins. Co., 409 U.S. 205,
                                                                                                          v. Carter, No. 03–90–0058–1, 1992 WL 406520, at            Act’s entitlement to a ‘generous construction’ HUD
                                                                                                          *5 (HUD ALJ May 1, 1992) (‘‘The application of the         . . . has repeatedly determined that the Fair
                                                209 (1972).                                               discriminatory effects standard in cases under the         Housing Act is directed to the consequences of
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                                                   4 Tex. Dep’t of Hous. & Cmty. Affairs v. Inclusive
                                                                                                          Fair Housing Act is well established.’’).                  housing practices, not simply their purpose.’’)
                                                Cmtys. Project, Inc., 576 U.S. 519, 529 (2015) (citing       12 78 FR 11460, 11461 (citing Policy Statement on       (citing Havens Realty v. Coleman, 455 U.S. 363, 380
                                                Report of the National Advisory Commission on             Discrimination in Lending, 59 FR 18266, 18269              (1982); City of Edmonds v. Oxford House, Inc., 514
                                                Civil Disorders 91 (1968) (Kerner Commission              (Apr. 15, 1994)).                                          U.S. 725, 731–732 (1995) (internal citations
                                                Report).                                                     13 See, e.g., HUD v. Pfaff, 1994 WL 592199, at *8       removed)).
                                                   5 Id. at 529 (citing Kerner Commission Report).                                                                      17 78 FR 11460, 11461 (citing 126 Cong. Rec.
                                                                                                          (HUD ALJ Oct. 27, 1994); HUD v. Mountain Side
                                                   6 Id. at 539.
                                                                                                          Mobile Estates P’ship, 1993 WL 367102, at *6 (HUD          31,166–31,167 (1980) (statement of Sen. Mathias
                                                   7 Trafficante, 409 U.S. at 211 (1972).                                                                            reading into the record letter of HUD Secretary)).
                                                                                                          ALJ Sept. 20, 1993); HUD v. Carter, 1992 WL
                                                   8 See 42 U.S.C. 3608(a), 3612, 3614a.                  406520, at *6 (HUD ALJ May 1, 1992); Twinbrook                18 78 FR 11460, 11461–62.




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                                                legitimate, nondiscriminatory interests                 liability exists under the FHA.’’ 25 The                 if the plaintiff cannot point to a
                                                of the defendant or respondent; and (3)                 Court further observed that disparate                    defendant’s policy or policies causing
                                                if the defendant or respondent meets its                impact claims are ‘‘consistent with the                  that disparity.’’ 32
                                                burden at step two, the plaintiff or                    FHA’s central purpose’’ of ‘‘eradicat[ing]                  HUD accounted for these same well-
                                                charging party may still prevail by                     discriminatory practices within a sector                 settled limitations in the 2013 Rule,
                                                proving that the substantial, legitimate,               of our [n]ation’s economy.’’ 26                          which requires a charging party or
                                                nondiscriminatory interests supporting                     As the Court recognized: ‘‘Much                       plaintiff to challenge a specific practice
                                                the challenged practice could be served                 progress remains to be made in our                       causing the alleged discriminatory effect
                                                by another practice that has a less                     Nation’s continuing struggle against                     and permits a defendant to defend a
                                                discriminatory effect.19                                racial isolation. . . . But since the                    practice that causes such an impact by
                                                                                                        passage of the Fair Housing Act in 1968                  demonstrating that it is necessary to
                                                The 2015 Inclusive Communities                          and against the backdrop of disparate-                   achieve a substantial, legitimate,
                                                Supreme Court Decision                                  impact liability in nearly every                         nondiscriminatory interest. The Court
                                                   In 2015, the Supreme Court confirmed                 jurisdiction, many cities have become                    did not call into question the 2013
                                                that the Act provides for discriminatory                more diverse. The FHA must play an                       Rule’s framework for analyzing
                                                effects liability in Texas Department of                important part in avoiding the Kerner                    discriminatory effects claims, nor did it
                                                Housing and Community Affairs v.                        Commission’s grim prophecy that our                      suggest that HUD should make any
                                                Inclusive Communities Project, Inc.20                   Nation is moving toward two societies,                   modifications to that framework. To the
                                                The Court was asked to answer two                       one black, one white—separate and                        contrary, the Court cited HUD’s 2013
                                                questions: (1) Whether disparate-impact                 unequal. The Court acknowledges the                      Rule multiple times with approval.33
                                                claims are cognizable under the Act,                    Fair Housing Act’s continuing role in                    For instance, the Court noted that the
                                                and (2) if they are, what standards and                 moving the Nation toward a more                          burden-shifting framework of Griggs and
                                                burdens of proof should apply?21 The                    integrated society.’’ 27                                 its progeny, adopted by HUD in the
                                                Court declined to consider the second                      In reaching this holding, the Court                   2013 Rule, adequately balanced the
                                                question.22                                             explained that from its first decision to                interests of plaintiffs and defendants by
                                                   The Court found that Congress’s use                  recognize disparate impact liability, in                 giving housing providers the ability ‘‘to
                                                of the phrase ‘‘otherwise make                          Griggs v. Duke Power Co., it ‘‘put                       state and explain the valid interest
                                                unavailable’’ in § 804(a) and the term                  important limits’’ on the scope of                       served by their policies.’’ 34 Multiple
                                                ‘‘discriminate’’ in § 805(a) parallel                   liability.28 For example, with respect to                courts have since read Inclusive
                                                language that the Court had previously                  employment discrimination claims                         Communities as affirming or endorsing
                                                held to provide for discriminatory                      under Title VII of the Civil Rights Act,                 the 2013 Rule’s burden-shifting test.35
                                                effects liability under other civil rights              Griggs explained that an employer can
                                                statutes.23 Moreover, the Court held that               justify a practice that has a disparate                    32 Id. at 541, 542.

                                                Congress’s 1988 amendment of the Act                    impact with a ‘‘business necessity’’                        33 Id. at 527 (explaining the 2013 Rule, its burden

                                                without altering the relevant text of                   defense, such that Title VII ‘‘does not                  shifting framework, and how the second prong is
                                                §§ 804(a) or 805(a) indicated that                      prohibit hiring criteria with a ‘manifest                analogous to Title VII’s requirement that a
                                                                                                                                                                 challenged practice be job related), 528 (noting the
                                                Congress ‘‘accepted and ratified the                    relationship’ to job performance.’’ 29                   Court of Appeals for the Fifth Circuit relied on
                                                unanimous [pre-1988] holdings of the                    Similarly, after holding that the Act                    HUD’s 2013 Rule), 541 (citing the 2013 Rule in
                                                [c]ourts of [a]ppeals finding disparate-                provided for disparate impact liability,                 explaining that disparate impact liability is
                                                impact liability.’’ 24 The Court further                the Inclusive Communities Court noted                    properly limited to give housing authorities and
                                                                                                                                                                 private developers leeway to state and explain the
                                                held that Congress’s addition of                        that, under the Act, ‘‘disparate-impact                  valid interest served by their policies via step two
                                                provisions that presuppose disparate                    liability has always been properly                       of the burden shifting framework); 542 (approvingly
                                                impact liability as part of the 1988                    limited in key respects.’’ 30 Quoting                    noting that HUD recognized in its 2013 Rule that
                                                amendments further provided                             Griggs, the Court explained that it has                  disparate impact liability ‘‘does not mandate that
                                                ‘‘convincing confirmation of Congress’                                                                           affordable housing be located in neighborhoods
                                                                                                        always been true that disparate impact                   with any particular characteristic’’).
                                                understanding that disparate-impact                     liability under the Act ‘‘mandates the                      34 Id. at 540–541.
                                                                                                        ‘removal of artificial, arbitrary, and                      35 See, e.g., MHANY Mgmt. Inc. v. Cnty. of
                                                  19 78 FR 11460, 11482; see, e.g., Inclusive Cmtys.
                                                                                                        unnecessary barriers,’ not the                           Nassau, 819 F.3d 581, 618 (2d Cir. 2016) (‘‘The
                                                Project, Inc., 576 U.S. at 527 (overviewing the 2013                                                             Supreme Court implicitly adopted HUD’s
                                                Rule’s burden shifting framework).
                                                                                                        displacement of valid governmental
                                                                                                                                                                 approach’’); Ave 6E Invs., LLC v. City of Yuma, 818
                                                  20 Inclusive Cmtys. Project, Inc., 576 U.S. at 519,   policies.’’ 31                                           F.3d 493, 512–513 (9th Cir. 2016) (citing the 2013
                                                532–35.                                                    The Court then sketched out some of                   Rule in describing the three-prong analytical
                                                  21 See Petition for a Writ of Certiorari, in Tex.     these long-standing limitations on the                   structure set forth in Inclusive Communities); Nat’l
                                                Dep’t of Hous. & Cmty. Affairs et al., v. Inclusive     scope of disparate-impact liability,                     Fair Hous. All. v. Travelers Indem. Co., 261 F.
                                                Cmtys. Project, Inc., 573 U.S. 991, No. 13–1371,                                                                 Supp. 3d 20, 28–29 (D.D.C. 2017) (stating that the
                                                2014 U.S. S. Ct. Briefs LEXIS 1848, at *9; See
                                                                                                        including: (i) The requirement that
                                                                                                                                                                 Supreme Court ‘‘carefully explained that disparate-
                                                Questions Presented in, Tex. Dep’t of Hous. & Cmty.     ‘‘housing authorities and private                        impact liability has always been properly limited’’
                                                Affairs et al., v. Inclusive Cmtys Project, Inc., 573   developers [have] leeway to state and                    and that ‘‘disparate-impact liability under the FHA
                                                U.S. 991, The United States Supreme Court 1, 1,         explain the valid interest served by their               can be proven under a burden-shifting framework
                                                https://www.supremecourt.gov/qp/13-01371qp.pdf.                                                                  analogous to that used in employment
                                                  22 Inclusive Cmtys. Project, Inc., 573 U.S. 991
                                                                                                        policies . . . analogous to the business
                                                                                                                                                                 discrimination cases.’’) (internal citations and
                                                (2014), 2014 U.S. LEXIS 4912 at *1 (‘‘Petition for      necessity standard under Title VII;’’ and                quotations omitted); Prop. Cas. Insurers Ass’n of
                                                writ of certiorari to the United States Court of        (ii) the requirement that a ‘‘claim that                 Am. v. Carson, No. 13–CV–8564, 2017 U.S. Dist.
                                                Appeals for the Fifth Circuit granted limited to        relies on a statistical disparity must fail              LEXIS 94502, at *28–*30 (N.D. Ill. June 20, 2017)
                                                Question 1 presented by the petition.’’); See also                                                               (finding that HUD’s 2013 adoption of the 3-step
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                                                Questions Presented in, Inclusive Cmtys Project,          25 Id. at 537.                                         burden-shifting framework a reasonable
                                                Inc., 573 U.S. 991, The United States Supreme                                                                    interpretation of the Act, finding that ‘‘in short, the
                                                                                                          26 Id. at 539 (citing 42 U.S.C. 3601).
                                                Court 1, 1, https://www.supremecourt.gov/qp/13-                                                                  Supreme Court in Inclusive Communities . . . did
                                                                                                         27 Id.at 546–47 (internal citations and quotations
                                                01371qp.pdf.                                                                                                     not identify any aspect of HUD’s burden-shifting
                                                  23 Inclusive Cmtys. Project, Inc., at 534 (citing     omitted).                                                approach that required correction.’’); Burbank
                                                                                                         28 Id. at 531.
                                                Griggs v. Duke Power Co., 401 U.S. 424 (1971); Bd.                                                               Apartments Tenant Ass’n v. Kargman, 474 Mass.
                                                                                                         29 Id. (quoting Griggs, 401 U.S. at 431–32).
                                                of Educ. v. Harris, 444 U.S. 130 (1979); Smith v.                                                                107, 126–27 (Mass. 2016) (explaining that it was
                                                City of Jackson, 544 U.S. 228 (2005)).                   30 Id. at 540.
                                                                                                                                                                 following the ‘‘burden-shifting framework laid out
                                                  24 Id. at 536.                                         31 Id. (quoting Griggs, 401 U.S. at 431).               by HUD and adopted by the Supreme Court in


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                                                HUD’s 2016 Notice: Application of the                    laws governing the business of                        significant changes made by the 2020
                                                Fair Housing Act’s Discriminatory                        insurance.’’ 41                                       Rule were likely not supported by
                                                Effects Standard to Insurance                               In response to the 2019 Proposed                   Inclusive Communities or other case
                                                                                                         Rule, HUD received approximately                      law. Similarly, the court concluded that
                                                   In 2016, HUD published a notice                       45,000 comments, most of which                        the 2020 Rule did not appear to bring
                                                (‘‘2016 Notice’’) supplementing its                      opposed the proposed changes and                      clarity to the discriminatory effects
                                                response to certain comments                             many of which raised significant legal                framework, but rather introduced new
                                                concerning homeowners insurance                          and policy concerns with the 2019                     concepts that had never been part of
                                                received during rulemaking for the 2013                  Proposed Rule. Commenters objected                    disparate-impact caselaw without fully
                                                Rule.36 The notice responded to an                       that the proposed changes did not align               explaining their meaning. In support of
                                                order issued in Property Casualty                        with caselaw and made discriminatory                  its conclusions, the court pointed to
                                                Insurers Association of America                          effects claims effectively impossible to              numerous provisions in the 2020 Rule
                                                (PCIAA) v. Donovan. In that case, the                    plead and prove in many instances, thus               as problematic, including § 100.500(b)
                                                U.S. District Court for the Northern                     contravening the core holding of                      (‘‘requiring at ‘the pleadings stage,’
                                                District of Illinois had issued a decision               Inclusive Communities.42 HUD’s own                    among other things, that plaintiffs
                                                upholding the 2013 Rule’s burden-                        experience investigating, charging, and               ‘sufficiently plead facts to support’ . . .
                                                shifting framework for analyzing                         litigating discriminatory effects cases               ‘[t]hat the challenged policy or practice
                                                discriminatory effects claims,37 while                   aligned with these comments, as will be               is arbitrary, artificial, and unnecessary
                                                remanding for further consideration of                   detailed later.                                       to achieve a valid interest or legitimate
                                                certain comments concerning                                 On September 24, 2020, HUD                         objective such as a practical business,
                                                homeowners insurance.38 In its 2016                      published the 2020 Rule, which, inter                 profit, policy consideration, or
                                                Notice, HUD stated, inter alia, that                     alia, removed the definition of                       requirement of law’’’); § 100.500(c)(2)
                                                ‘‘[a]fter careful reconsideration of the                 discriminatory effect, added pleading                 (permitting defendants to ‘‘‘rebut a
                                                insurance industry comments in                           elements that made it far more difficult              plaintiff’s allegation under (b)(1) . . .
                                                accordance with the court’s decision                     to initiate a case, altered the burden-               that the challenged policy or practice is
                                                . . . HUD has determined that                            shifting framework, created new                       arbitrary, artificial, and unnecessary by
                                                                                                         defenses, and limited available remedies              producing evidence showing that the
                                                categorical exemptions or safe harbors
                                                                                                         in disparate impact claims.43 Some of                 challenged policy or practice’ merely
                                                for insurance practices are unworkable
                                                                                                         these changes are described more fully                ‘advances a valid interest’’’;
                                                and inconsistent with the broad fair
                                                                                                         below, along with HUD’s explanation                   § 100.500(c)(3) (requiring ‘‘at the third
                                                housing objectives and obligations
                                                                                                         for why it now believes they are                      step of the burden-shifting framework
                                                embodied in the Act. HUD continues to                    unwarranted.
                                                believe that the commenters’ concerns                                                                          that the plaintiff prove ‘a less
                                                regarding application of the                             Massachusetts Fair Housing Ctr. v. HUD                discriminatory policy or practice exists
                                                                                                         Order Staying Implementation of the                   that would serve the defendant’s
                                                discriminatory effects standard to
                                                                                                         2020 Rule.                                            identified interest (or interests) in an
                                                insurance practices can and should be
                                                                                                                                                               equally effective manner without
                                                addressed on a case-by-case basis.’’ 39                    Following publication of the 2020                   imposing materially greater costs on, or
                                                HUD’s 2020 Disparate Impact Rule                         Rule, HUD was sued in three separate                  creating other material burdens for, the
                                                                                                         federal courts—Massachusetts Fair                     defendant’’’ (emphasis in original));
                                                   On June 20, 2018, HUD published an                    Housing Ctr., et al. v. HUD, No. 3:20–                § 100.500(d)(1) and (d)(2)(iii)
                                                Advance Notice of Proposed                               cv–11765 (D. Mass.); National Fair                    (‘‘conflating of a plaintiff’s prima facie
                                                Rulemaking (‘‘ANPRM’’), inviting                         Housing Alliance, et al. v. HUD, No.                  burden and pleading burden’’); and
                                                public comment on ‘‘what changes, if                     3:20-cv-07388 (N.D. Cal.); Open                       § 100.500(d)(2)(i) (the outcome
                                                any’’ should be made to the 2013 Rule.40                 Communities, et al. v. HUD, No. 3:20–                 prediction defense).45
                                                HUD then published a Notice of                           cv–01587 (D. Conn.). The plaintiffs in                   The district court stated that the
                                                Proposed Rulemaking on August 19,                        each case contended that the 2020 Rule                ‘‘practical business, profit, policy
                                                2019 (‘‘2019 Proposed Rule’’). In the                    was invalid because it was inconsistent               consideration’’ language, the ‘‘outcome
                                                2019 Proposed Rule, HUD proposed to                      with the Act and that its promulgation                prediction’’ defense, changes to the
                                                ‘‘amend HUD’s interpretation of the Fair                 violated the Administrative Procedure                 third element of the burden-shifting
                                                Housing Act’s disparate impact standard                  Act (‘‘APA’’). Prior to the effective date            framework, and the conflating of a
                                                to better reflect the Supreme Court’s                    of the 2020 Rule, the U.S. District Court             plaintiff’s prima facie burden and
                                                2015 ruling in Inclusive Communities,                    for the District of Massachusetts in                  pleading burden, ran the risk of
                                                and to provide clarification regarding                   Massachusetts Fair Housing Ctr. v. HUD                ‘‘effectively neutering’’ discriminatory
                                                the application of the standard to State                 issued a preliminary injunction staying               effects liability under the Act, and were
                                                                                                         the implementation and postponing the                 all likely unsupported by Inclusive
                                                                                                         effective date of the 2020 Rule. The                  Communities or other judicial
                                                [Inclusive Communities].’’); but see Inclusive Cmtys.
                                                Project v. Lincoln Prop. Co., 920 F.3d 890, 902 (5th     district court ordered HUD to ‘‘preserve              decisions.46 The district court also
                                                Cir. 2019) (noting that ‘‘debate exists regarding        the status quo pursuant to the                        stated that the 2020 Rule’s use of ‘‘new
                                                whether in ICP the Supreme Court adopted the             regulations in effect as of the date of this          and undefined terminology, altered
                                                [2013] regulation’s approach or modified it’’ but        Order.’’ 44
                                                that it believed that ICP ‘‘announced a more                                                                   burden-shifting framework, and
                                                demanding test’’ through the announcement of               In its order, the district court                    perplexing defenses’’ accomplished ‘‘the
                                                                                                         preliminarily found that many
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                                                ‘‘safeguards’’ to incorporate into the burden shifting                                                         opposite of clarity’’ and was likely
                                                framework, such as a ‘‘robust causality’’
                                                requirement’’).
                                                                                                                                                               ‘‘arbitrary and capricious.’’ 47 The court
                                                                                                           41 84 FR 42854.
                                                   36 81 FR 69012, 69012.                                  42 See, e.g., 85 FR 60317, 60319 (overview of
                                                                                                                                                               stated that ‘‘[t]here can be no doubt that
                                                   37 Prop. Cas. Insurers Ass’n of Am. v. Donovan,
                                                                                                         some of the comments making these points).            the 2020 Rule weakens, for housing
                                                66 F. Supp. 3d 1018, 1051–53 (N.D. Ill. 2014).             43 85 FR 60288.
                                                   38 Id. at 1049, 1054.                                   44 Mass. Fair Hous. Ctr. v. HUD, No. 20–11765–        45 Id. at *9, *10 n.2, *17–18.
                                                   39 81 FR 69012, 69012.                                                                                        46 Id. at *17–18.
                                                                                                         MGM, 2020 U.S. Dist. LEXIS 205633, at *20–21 (D.
                                                   40 83 FR 28560.                                       Mass. Oct. 25, 2020).                                   47 Id. at *18-*19.




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                                                discrimination victims and fair housing                   need to ensure that frivolous claims do                  arbitrary, and unnecessary barriers to
                                                organizations, disparate impact liability                 not go forward with a realistic                          employment when the barriers operate
                                                under the Fair Housing Act. . . . In                      understanding of the practical                           invidiously to discriminate on the basis
                                                addition, the 2020 Rule arms defendants                   challenges to litigating these claims.                   of racial or other impermissible
                                                with broad new defenses which appear                      With regard to the 2020 Rule, HUD’s                      classification.’’ 52 Quoting from its
                                                to make it easier for offending                           experience investigating and                             foundational decision in Griggs, the
                                                defendants to dodge liability and more                    prosecuting discriminatory effects cases                 Supreme Court in Inclusive
                                                difficult for plaintiffs to succeed. In                   informs that many of the points made by                  Communities observed that ‘‘[d]isparate-
                                                short, these changes constitute a                         commenters and the Massachusetts                         impact liability mandates the ‘removal
                                                massive overhaul of HUD’s disparate                       District Court are, in HUD’s opinion,                    of artificial, arbitrary, and unnecessary
                                                impact standards, to the benefit of                       correct, including that the changes the                  barriers,’ not the displacement of valid
                                                putative defendants and to the                            2020 Rule makes, such as amending                        governmental policies.’’ 53 This
                                                detriment of putative plaintiffs.’’ 48 The                pleading standards, changing the                         quotation from a seminal decision of
                                                court stated that the 2020 Rule’s                         burden shifting framework, and adding                    longstanding disparate impact doctrine
                                                ‘‘massive changes . . . pose a real and                   defenses, all favoring respondents, will                 is properly read as maintaining existing
                                                substantial threat of imminent harm’’ to                  at the very least introduce unnecessary                  law, not profoundly changing it. As
                                                the Massachusetts Fair Housing Center                     confusion and will at worst make                         Inclusive Communities explicitly stated,
                                                by raising the burdens and costs of                       discriminatory effects liability a                       ‘‘disparate-impact liability has always
                                                pursuing claims under a discriminatory                    practical nullity.                                       been properly limited in key respects’’
                                                effects theory.49                                            HUD now proposes to recodify the                      (emphasis added), making clear that it
                                                                                                          2013 Rule’s discriminatory effects                       was not adding additional pleading or
                                                II. HUD’S Reconsideration of the 2020                     standard and invites comments on this                    proof requirements or calling for a
                                                Rule                                                      proposal. HUD believes that this                         significant departure from pre-existing
                                                   On January 26, 2021, President Biden                   standard is more consistent with the                     precedent under the Act and Title VII.54
                                                issued a Memorandum ordering the                          Act’s purpose, prior caselaw under the                   Furthermore, reading Inclusive
                                                Department to ‘‘take all steps necessary                  Act, including Inclusive Communities,                    Communities to support a heightened
                                                to examine the effects of the [2020                       other civil rights authorities, including                pleading standard is contradicted by the
                                                Rule], including the effect that                          the Equal Credit Opportunity Act and                     fact that the ‘‘heartland’’ cases cited by
                                                amending the [2013 Rule] has had on                       Title VII, and HUD’s prior                               the Court would not have survived a
                                                HUD’s statutory duty to ensure                            interpretations of the Act. While HUD                    motion to dismiss under that standard
                                                compliance with the Fair Housing Act’’                    previously stated that the 2020 Rule was                 because plaintiffs in those cases did not
                                                and ‘‘take any necessary steps . . . to                   simply intended to implement the                         have specific facts to plausibly allege
                                                implement the Fair Housing Act’s                          Supreme Court’s opinion in Inclusive                     that a policy or practice was arbitrary,
                                                requirements that HUD administer its                      Communities, HUD now believes that                       artificial, or unnecessary until after
                                                programs in a manner that . . . furthers                  Inclusive Communities maintained the                     discovery.55 Finally, because Inclusive
                                                . . . HUD’s overall duty to administer                    fundamentals of long-established                         Communities considered a judgment
                                                the Act [] including by preventing                        disparate-impact precedent rather than                   reached after discovery and bench trial,
                                                practices with an unjustified                             changing them. Moreover, based on                        the Court had no occasion or
                                                discriminatory effect.’’ 50                               HUD’s experience investigating and                       opportunity to consider the proper
                                                   Consistent with the President’s                        litigating discriminatory effects cases,                 pleading standards for cases brought
                                                Memorandum, HUD has reconsidered                          HUD believes that the practical effect of                under the Act. The parties did not brief
                                                the 2020 Rule and proposes that the                       the 2020 Rule’s amendments is to                         or argue such questions to the Court,
                                                2013 Rule be recodified. In so                            severely limit HUD’s and plaintiffs’ use                 making it particularly unlikely that the
                                                proposing, HUD considered prior public                    of the discriminatory effects framework                  Court intended to reach them.
                                                comments on the various rulemakings                       in ways that substantially diminish that                    For these reasons and others, HUD
                                                described above, HUD’s responses to                       frameworks’ effectiveness in                             believes that Inclusive Communities’
                                                those comments, HUD’s 2016                                accomplishing the purposes that                          quotation of Griggs’ decades-old
                                                supplemental explanation regarding the                    Inclusive Communities articulated.                       ‘‘artificial, arbitrary, and unnecessary’’
                                                2013 Rule’s applicability to the                             By comparison, in HUD’s experience,                   formulation is best construed as
                                                insurance industry, legal precedent                       the 2013 Rule has provided a workable
                                                including Inclusive Communities, the                      and balanced framework for                                  52 Griggs v. Duke Power Co., 401 U.S. 424, 430–

                                                Massachusetts Fair Housing Center                         investigating and litigating                             31 (1971).
                                                                                                                                                                      53 Inclusive Cmtys. Project, Inc., 576 U.S. at 540
                                                court’s order, and HUD’s own                              discriminatory effects claims that is                    (quoting Griggs, 401 U.S. at 431); see also Inclusive
                                                experience with discriminatory effects                    consistent with the Act, HUD’s own                       Cmtys. Project, Inc., 576 U.S. at 544 (cautioning
                                                cases over 40 years.                                      guidance, Inclusive Communities, and                     against proof standards that ‘‘displace valid
                                                   In HUD’s experience, the 2013 Rule                     other jurisprudence.                                     governmental and private priorities, rather than
                                                                                                                                                                   solely ‘remov[ing] . . . artificial, arbitrary, and
                                                sets a more appropriately balanced                           As noted above, the Court in Inclusive                unnecessary barriers’ ’’) (quoting Griggs, 401 U.S. at
                                                standard for pleading, proving, and                       Communities heavily relied on Griggs,                    431) (alterations in original).
                                                defending a fair housing case alleging a                  which is the foundation of Title VII                        54 Id. at 540.

                                                policy or practice has a discriminatory                   disparate impact jurisprudence, to                          55 See, e.g., Town of Huntington, NY v.

                                                effect. The 2013 Rule provides greater                    illustrate the well-settled principles of                Huntington Branch, NAACP, 488 U.S. 15 (1988);
                                                                                                                                                                   United States v. City of Black Jack, 508 F.2d 1179,
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                                                clarity about what each party must show                   disparate impact under the Act, all of                   1184, 1187–88 (8th Cir. 1974) (specific facts
                                                by relying on concepts that have a long                   which are fully consistent with the 2013                 produced during the case supported the court’s
                                                history in judicial and agency                            Rule.51 In Griggs, the Court explained                   determination that the policy was one of those
                                                precedent. It appropriately balances the                  that, under Title VII, ‘‘[w]hat is required              ‘‘artificial, arbitrary, and unnecessary’’ practices
                                                                                                                                                                   that is properly invalidated under disparate impact
                                                                                                          by Congress is the removal of artificial,                doctrine); Greater New Orleans Fair Hous. Action
                                                  48 Id. at *10.
                                                                                                                                                                   Ctr. v. St. Bernard Parish, 641 F. Supp. 2d 563, 567–
                                                  49 Id. at *19.                                            51 See generally Inclusive Cmtys. Project, Inc., 576   568 (E.D. La. 2009) (relying on information gathered
                                                  50 See 86 FR 7487, 7488.                                U.S. 519 (2015).                                         after the pleadings to find disparate impact).


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                                                maintaining continuity with                               that such person will be injured by a                  finding, including in the 2020 Rule, that
                                                longstanding disparate-impact                             discriminatory housing practice that is                ‘‘a general waiver of disparate impact
                                                jurisprudence, as reflected in the 2013                   about to occur.’’ 59 And consistent with               law for the insurance industry would be
                                                Rule. Accordingly, HUD proposes to                        the Act’s plain language, courts have                  inappropriate.’’ 63 Although unclear, it
                                                recodify the 2013 Rule.                                   found that predictable discriminatory                  appears that this defense would suggest
                                                   HUD believes other changes the 2020                    effects may violate the Act: ‘‘[t]o                    using comparators that are, in HUD’s
                                                Rule made create problems that could                      establish a prima facie case of racial                 experience, inappropriate. At the very
                                                be cured by a return to the 2013 Rule.                    discrimination, the plaintiff need prove               least, the defense introduces
                                                For example, the 2020 Rule eliminated                     no more than that the conduct of the                   unnecessary confusion into the
                                                the 2013 Rule’s definition of                             defendant actually or predictably results              doctrine.
                                                ‘‘discriminatory effect,’’ stating that the               in racial discrimination; in other words,                 The 2020 Rule limited remedies in
                                                definition was unnecessary because it                     that it has a discriminatory effect.’’ 60              discriminatory effects cases in three
                                                ‘‘simply reiterated the elements of a                     The 2020 Rule did not adequately                       respects. It specified that ‘‘remedies
                                                disparate impact claim.’’ 56 In                           explain how the Act and caselaw                        should be concentrated on eliminating
                                                eliminating this definition, the 2020                     construing it can be read to require                   or reforming the discriminatory practice
                                                Rule erased ‘‘perpetuation of                             waiting until harm is inflicted before an              so as to eliminate disparities between
                                                segregation’’ as a recognized type of                     action with predictable discriminatory                 persons in a particular protected class
                                                discriminatory effect distinct from                       effects can be challenged, nor does HUD                and other persons.’’ 64 It prohibited
                                                disparate impact, contrary to well                        perceive that any such explanation                     HUD in administrative proceedings
                                                established precedent.57 HUD now                          would be availing, given the plain                     from pursuing anything but ‘‘equitable
                                                proposes to reaffirm that perpetuation of                 language of the Act and the caselaw                    remedies’’ except that ‘‘where pecuniary
                                                segregation remains, as it always has                     interpreting it. Thus, HUD proposes to                 damage is proved, HUD will seek
                                                been, a basis for contending that a                       recodify the 2013 Rule to correct this                 compensatory damages or
                                                policy has an unlawful discriminatory                     error.                                                 restitution.’’ 65 And it restricted HUD
                                                effect. HUD now believes that for                            In addition, the 2020 Rule created                  from seeking civil penalties in
                                                clarity, a discriminatory effects rule                    new and confusing defenses at both the                 discriminatory effects cases unless the
                                                should explicitly state that perpetuation                 pleading and post-pleading stage,                      respondent had been adjudged within
                                                of segregation is a type of discriminatory                including that the challenged policy or                the last 5 years to have committed
                                                effect, distinct from disparate impact.                   practice is ‘‘reasonably necessary to                  intentional unlawful housing
                                                   The 2020 Rule also eliminated from                     comply with a third-party                              discrimination under the Act.66 HUD
                                                the Act’s prohibitions policies or                        requirement.’’ 61 The 2020 Rule’s                      believes that these limitations have no
                                                practices that could ‘‘predictably                        preamble stated that this defense would                basis in law and run contrary to public
                                                result[ ] in a disparate impact on a group                not require a showing that the                         interest and the purpose of the Act.
                                                of persons,’’ i.e., those for which the                   challenged policy is the only way to                   While the 2020 Rule cited Inclusive
                                                disparate impact has not yet manifested                   comply with such a requirement, only                   Communities as supporting these
                                                but will predictably do so.58 As HUD                      that the policy serves that purpose.62                 limitations,67 no part of Inclusive
                                                stated in 2013, the Act prohibits                         HUD now believes that this defense is                  Communities suggested such
                                                discrimination that is predictable                        inconsistent with the Act, which                       limitations.68 Moreover, they are in
                                                because it defines an ‘‘aggrieved                         specifies that state and local laws                    conflict with the plain language of the
                                                person’’ as any person who ‘‘believes                     requiring or permitting discriminatory                 Act, which provides in all cases for a
                                                                                                          housing practices are invalid. The                     wide variety of remedies, including
                                                  56 84 FR 42854; 85 FR 60288, 60306–07, 60332.           defense would preclude many otherwise                  injunctive relief, actual damages,
                                                   57 See, e.g., Graoch Assocs. # 33, L.P., 508 F.3d      proper discriminatory effects claims,                  punitive damages, and civil penalties.69
                                                at 378 (6th Cir. 2007) (there are ‘‘two types of          because, for example, a plaintiff may not
                                                discriminatory effects which a facially neutral
                                                housing decision can have: The first occurs when
                                                                                                          have any practical means of knowing                       63 85 FR 60321 (citing ‘‘Application of the Fair

                                                                                                          whether some other party’s policies also               Housing Act’s Discriminatory Effects Standard to
                                                that decision has a greater adverse impact on one                                                                Insurance’’ 81 FR 69012).
                                                racial group than on another. The second is the           contributed to the defendant’s practice.                  64 85 FR 60288, 60333.
                                                effect which the decision has on the community            Nothing in Inclusive Communities                          65 Id.
                                                involved; if it perpetuates segregation and thereby
                                                prevents interracial association it will be
                                                                                                          suggests this defense is required, let                    66 Id.

                                                considered invidious under the Fair Housing Act           alone reasonable, for HUD to create.                      67 Id.

                                                independently of the extent to which it produces          Accordingly, HUD proposes to eliminate                    68 See Inclusive Cmtys. Project, 576 U.S. at 544–

                                                a disparate effect on different racial groups.’’); Ave.   these provisions by recodifying the 2013               45 (noting considerations for courts on how to
                                                6E Invs. v. City of Yuma, 818 F.3d 493, 503 (9th          Rule.                                                  properly construct remedial orders (i.e., be
                                                Cir. 2016) (‘‘[A]s the Supreme Court recently                                                                    consistent with the Constitution, concentrate on the
                                                reaffirmed [in ICP], the FHA also encompasses a
                                                                                                             The 2020 Rule also created a new                    elimination of the offending practice, strive to be
                                                second distinct claim of discrimination, disparate        ‘‘outcome prediction’’ defense, which                  race-neutral), but in no way suggesting that
                                                impact, that forbids actions by private or                would in practice exempt most                          remedial orders should be the sole or favored
                                                governmental bodies that create a discriminatory          insurance industry practices (and many                 remedy in disparate impact cases, or that civil
                                                effect upon a protected class or perpetuate housing                                                              penalties in administrative proceedings are
                                                segregation without any concomitant legitimate
                                                                                                          other housing-related practices that rely              somehow inappropriate).
                                                reason.’’) (emphasis added); see also Huntington          on outcome predictions, such as lending                   69 See, e.g., 42 U.S.C. 3601 note (‘‘Nothing in the
                                                Branch, NAACP v. Huntington, 844 F.2d 926, 937            practices) from liability under a                      Fair Housing Act as amended by this Act limits any
                                                (2nd Cir. 1988); Metro. Hous. Dev. Corp. v. Vill. of      disparate impact standard. This is                     . . . remedy available under the Constitution or any
                                                Arlington Heights, 558 F.2d 1283, 1290 (7th Cir.                                                                 other Act of the Congress not so amended’’); 42
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                                                1977); Nat’l Fair Hous. All. v. Bank of Am., NA.,
                                                                                                          inconsistent with HUD’s repeated
                                                                                                                                                                 U.S.C. 3612(g)(3) (‘‘If the administrative law judge
                                                401 F. Supp. 3d 619, 641 (D. Md. 2019) (allowing                                                                 finds that a respondent has engaged . . . in a
                                                                                                            59 42 U.S.C. 3602(1)(2) (emphasis added).
                                                claim to proceed past motion to dismiss where                                                                    discriminatory housing practice, such
                                                plaintiff pleaded facts sufficient to allege that           60 See Inclusive Cmtys. Project, Inc., 576 U.S. at
                                                                                                                                                                 administrative law judge shall promptly issue an
                                                defendant’s policies ‘‘forestall housing integration      539–40 (2015) (describing City of Black Jack, 508      order for such relief as may be appropriate, which
                                                and freeze existing racial segregation patterns’’);       F.2d at 1184 as ‘‘at the heartland of disparate-       may include actual damages suffered by the
                                                Hallmark Devs., Inc. v. Fulton Cnty., 386 F. Supp.        impact liability’’).                                   aggrieved person and injunctive or other equitable
                                                2d 1369, 1383 (N.D. Ga. 2005).                              61 85 FR 60288, 60316–17.
                                                                                                                                                                 relief. Such order may, to vindicate the public
                                                   58 84 FR 42854; 85 FR 60288, 60306–07, 60322.            62 85 FR 60288, 60290.                                                                           Continued



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                                                Whereas Congress has chosen to limit                       subsequent to Inclusive Communities                     ‘‘significant regulatory action’’ as
                                                the remedies available in disparate-                       also found that the 2013 Rule was                       defined in section 3(f) of Executive
                                                impact cases under Title VII,70 it has                     consistent with Inclusive                               Order 12866 (although not an
                                                made no such choice with respect to the                    Communities.74 HUD thus proposes this                   economically significant regulatory
                                                Act. Thus, HUD proposes to eliminate                       rule because it believes the 2013 Rule                  action, as provided under section 3(f)(1)
                                                these provisions by recodifying the 2013                   accurately reflects the discriminatory                  of the Executive Order).
                                                Rule.                                                      effects framework under the Act,                           Because the 2020 Rule never took
                                                   In sum, HUD now believes that the                       whereas the 2020 Rule does not.                         effect, and therefore did not affect the
                                                2013 Rule is preferable to the 2020 Rule.                     HUD does not propose to amend                        obligations of any regulated entities, this
                                                It believes the 2013 Rule is more                          § 100.70. The 2020 Rule made changes                    proposed rule is only recodifying the
                                                consistent with judicial precedent                         unrelated to § 100.500 by simply adding                 2013 Rule and will have no impact on
                                                construing the Fair Housing Act,                           examples to an already non-exhaustive                   regulated entities except to affirm that
                                                including Inclusive Communities, as                        list of prohibited activities under the                 the 2013 Rule remains in effect.
                                                well as the Act’s broad remedial                           Act at § 100.70(d)(5).75 Specifically, it               Furthermore, the 2013 Rule itself had
                                                purpose. Based on its experience                           noted that enacting or implementing                     little direct effect on regulated entities
                                                interpreting and enforcing the Act, HUD                    ‘‘building codes,’’ ‘‘permitting rules,’’ or            because it only ‘‘formalize[d] the
                                                also believes the 2020 Rule, if put into                   ‘‘requirements’’ that restrict or deny                  longstanding interpretation of the Fair
                                                effect, threatens to limit the                             housing opportunities or otherwise                      Housing Act to include discriminatory
                                                effectiveness of the Act’s discriminatory                  make unavailable or deny dwellings to                   effects liability’’ and ‘‘[was] not a
                                                effects doctrine in ways that are                          persons because of a protected class is                 significant departure from HUD’s
                                                inconsistent with the doctrine                             prohibited.                                             interpretation to date or that of the
                                                continuing to play its critical role in                                                                            majority of federal courts.’’ 76 Therefore,
                                                ‘‘moving the Nation toward a more                          IV. Findings and Certifications                         HUD does not believe that deeper
                                                integrated society.’’ 71 On the other                      Regulatory Review—Executive Orders                      analysis is needed on the impact of this
                                                hand, HUD believes that the 2013 Rule                      13563 and 12866                                         rule. However, HUD invites comment
                                                provided clarity, consistency, and a                                                                               on this question.
                                                                                                              Executive Order 13563 (‘‘Improving
                                                workable, balanced framework,                                                                                         The docket file is available for public
                                                                                                           Regulation and Regulatory Review’’)                     inspection in the Regulations Division,
                                                recognized by the Supreme Court, under
                                                                                                           directs agencies to propose or adopt a                  Office of the General Counsel, Room
                                                which to analyze discriminatory effects
                                                                                                           regulation only upon a reasoned                         10276, 451 7th Street SW, Washington,
                                                claims, and under which HUD can
                                                                                                           determination that its benefits justify its             DC 20410–0500. Due to security
                                                better ensure it has the tools to further
                                                                                                           costs, emphasizes the importance of                     measures at the HUD Headquarters
                                                its ‘‘duty to administer the Act [ ]
                                                                                                           quantifying both costs and benefits, of                 building, please schedule an
                                                including by preventing practices with
                                                                                                           harmonizing rules, of promoting                         appointment to review the docket file by
                                                an unjustified discriminatory effect.’’ 72
                                                                                                           flexibility, and of periodically reviewing              calling the Regulations Division at 202–
                                                III. This Proposed Rule                                    existing rules to determine if they can                 708–3055 (this is not a toll-free
                                                   For the reasons described above, HUD                    be made more effective or less                          number). Individuals with speech or
                                                proposes to amend §§ 100.5 and 100.500                     burdensome in achieving their                           hearing impairments may access this
                                                to recodify the discriminatory effects                     objectives. Under Executive Order                       number via TTY by calling the Federal
                                                regulation specified in the 2013 Rule.                     12866 (‘‘Regulatory Planning and                        Relay Service at 800–877–8339 (this is
                                                As HUD has stated, the 2013 Rule was                       Review’’), a determination must be                      a toll-free number).
                                                consistent with Inclusive                                  made whether a regulatory action is
                                                Communities.73 The vast majority of                        significant and therefore, subject to                   Regulatory Flexibility Act
                                                courts that considered this issue                          review by the Office of Management and                     The Regulatory Flexibility Act
                                                                                                           Budget (‘‘OMB’’) in accordance with the                 (‘‘RFA’’) (5 U.S.C. 601 et seq.) generally
                                                interest, assess a civil penalty against the               requirements of the order. This                         requires an agency to conduct a
                                                respondent. . .’’); 42 U.S.C. 3612(p) (‘‘[i]n any          proposed rule was determined to be a                    regulatory flexibility analysis of any rule
                                                administrative proceeding brought under this                                                                       subject to notice and comment
                                                section, or any court proceeding arising therefrom,           74 See, e.g., MHANY Mgmt. Inc. v. County of
                                                or any civil action under section 812, the                                                                         rulemaking requirements, unless the
                                                                                                           Nassau, 819 F.3d 581, 618–619 (2d Cir. 2016)
                                                administrative law judge or the court . . . in its         (deferring to HUD’s [2013] regulation, noting that
                                                                                                                                                                   agency certifies that the rule will not
                                                discretion, may allow the prevailing party, other          ‘‘the Supreme Court implicitly adopted HUD’s            have a significant economic impact on
                                                than the United States, a reasonable attorney‘s fees       [burden shifting] approach [in 24 CFR 100.500(c)]’’);   a substantial number of small entities.
                                                and costs.’’); 42 U.S.C. 3613(c)(1) (‘‘in a civil action   Ave. 6E Invs., LLC, 818 F.3d at 512–13 (9th Cir.
                                                under subsection (a), if the court finds that a                                                                    This rule amends the Code of Federal
                                                                                                           2016) (citing Inclusive Communities and the 2013
                                                discriminatory housing practice has occurred . . .         Rule at 100.500(c) for the same proposition); Nat’l
                                                                                                                                                                   Regulations to accurately reflect HUD’s
                                                the court may award to the plaintiff actual and            Fair Hous. All. v. Travelers Indem. Co., 261 F.         discriminatory effects regulation as it
                                                punitive damages, and subject to subsection (d),           Supp. 3d 20, 29 (D.D.C. 2017) (citing Inclusive         currently exists. As a result, all entities,
                                                may grant as relief, as the court deems appropriate,       Communities and HUD’s 2013 Rule at 100.500(c) as
                                                any permanent or temporary injunction, temporary                                                                   big and small, have a responsibility to
                                                                                                           standing for the same proposition); Prop. Cas.
                                                restraining order, or other order . . . .’’).              Insurers Ass’n of Am. v. Carson, No. 13–CV–8564,
                                                                                                                                                                   comply with the law.
                                                  70 42 U.S.C. 2000e–5(g)(1).
                                                                                                           2017 U.S. Dist. LEXIS 94502, at *29–30 (N.D. Ill.          As discussed above, this Proposed
                                                  71 Inclusive Cmtys. Project, 576 U.S. at 547.
                                                                                                           June 20, 2017) (finding that HUD’s 2013 adoption        Rule would continue to apply the 2013
                                                  72 86 FR 7487, 7488.                                     of the 3-step burden-shifting framework was a           Rule, which has been in effect
                                                  73 See, e.g., Defendants’ Opposition to Plaintiff’s      reasonable interpretation of the Act and that ‘‘in
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                                                                                                           short, the Supreme Court in Inclusive Communities
                                                                                                                                                                   uninterrupted for over seven years. HUD
                                                Motion for Leave to Amend Complaint, Prop. Cas.
                                                Ins. Assoc. of Am. v. Carson and the U.S. Dep’t of         . . . did not identify any aspect of HUD’s burden-      concludes, as it did when it published
                                                Hous. and Urb. Dev., No. 1:13–cv–08564 (N.D. Ill.          shifting approach that required correction.’’);         the 2013 Rule, that the majority of
                                                2017); Defendants’ Memorandum in Support of                Burbank Apartments Tenant Ass’n v. Kargman, 474         entities, large or small, currently comply
                                                Their Motion for Summary Judgment and in                   Mass. 107, 126–27 (Mass. 2016) (explaining that it
                                                                                                           was following the ‘‘burden-shifting framework laid
                                                                                                                                                                   and will remain in compliance with the
                                                Opposition to Plaintiffs’ Motion for Summary
                                                Judgment, Am. Ins. Assoc. v. U.S. Dep’t of Hous.           out by HUD and adopted by the Supreme Court in          Fair Housing Act. All entities, large and
                                                and Urb. Dev. et al., No. 1:13–cv–00966 (RJL)              [Inclusive Communities].’’).
                                                (D.D.C. 2016).                                                75 85 FR 60326.                                       76 78 FR 11460, 11480.




                                                                                                                                 051871
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                                                                 Case 1:13-cv-00966-RJL                           Document 152-6                   Filed 05/30/23               Page 8 of 8
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                                                small, have been subject to the Fair                    This proposed rule would not impose                    because of race, color, religion, sex,
                                                Housing Act for over fifty years and                    any federal mandates on any state, local,              handicap, familial status, or national
                                                subject to the 2013 Rule for over seven                 or tribal governments, or on the private               origin.
                                                years. For the minority of entities that                sector, within the meaning of the                         (b) Legally sufficient justification. (1)
                                                have failed to institutionalize methods                 UMRA.                                                  A legally sufficient justification exists
                                                to avoid engaging in illegal housing                                                                           where the challenged practice:
                                                discrimination and plan to come into                    List of Subjects in 24 CFR Part 100
                                                compliance as a result of this                            Aged, Civil rights, Fair housing,                       (i) Is necessary to achieve one or more
                                                rulemaking, the costs will simply be the                Incorporation by reference, Individuals                substantial, legitimate,
                                                costs of compliance with a preexisting                  with disabilities, Mortgages, and                      nondiscriminatory interests of the
                                                statute and regulation. This proposed                   Reporting and recordkeeping                            respondent, with respect to claims
                                                rule does not change that substantive                   requirements.                                          brought under 42 U.S.C. 3612, or
                                                obligation; it merely recodifies the                      For the reasons discussed in the                     defendant, with respect to claims
                                                regulation that more accurately reflects                preamble, HUD proposes to amend 24                     brought under 42 U.S.C. 3613 or 3614;
                                                the law. Any burden on small entities is                CFR part 100 as follows:                               and
                                                simply incidental to the pre-existing                                                                             (ii) Those interests could not be
                                                requirements to comply with this body                   PART 100—DISCRIMINATORY                                served by another practice that has a
                                                of law. Furthermore, HUD anticipates                    CONDUCT UNDER THE FAIR HOUSING                         less discriminatory effect.
                                                that this Proposed Rule would eliminate                 ACT
                                                                                                                                                                  (2) A legally sufficient justification
                                                confusion for all entities, including
                                                                                                        ■ 1. The authority citation for 24 CFR                 must be supported by evidence and may
                                                small Fair Housing Advocacy
                                                                                                        part 100 continues to read as follows:                 not be hypothetical or speculative. The
                                                organizations, by ensuring HUD’s
                                                                                                                                                               burdens of proof for establishing each of
                                                regulation accurately reflects the current                  Authority: 42 U.S.C. 3535(d), 3600–3620.
                                                                                                                                                               the two elements of a legally sufficient
                                                standards. Accordingly, the undersigned
                                                                                                        Subpart A—General                                      justification are set forth in paragraphs
                                                certifies that this Proposed Rule would
                                                                                                                                                               (c)(2) and (3) of this section.
                                                not have a significant economic impact                  ■ 2. In § 100.5, revise paragraph (b) and
                                                on a substantial number of small                                                                                  (c) Burdens of proof in discriminatory
                                                                                                        remove paragraph (d) to read as follows:               effects cases. (1) The charging party,
                                                entities. HUD invites comments on this
                                                certification. HUD specifically invites                 § 100.5    Scope.                                      with respect to a claim brought under 42
                                                comments on the number of small                         *     *     *     *     *                              U.S.C. 3612, or the plaintiff, with
                                                entities which commenters believe may                     (b) This part provides the                           respect to a claim brought under 42
                                                be affected by this regulation.                         Department’s interpretation of the                     U.S.C. 3613 or 3614, has the burden of
                                                                                                        coverage of the Fair Housing Act                       proving that a challenged practice
                                                Environmental Impact                                                                                           caused or predictably will cause a
                                                                                                        regarding discrimination related to the
                                                  This proposed rule sets forth                         sale or rental of dwellings, the provision             discriminatory effect.
                                                nondiscrimination standards.                            of services in connection therewith, and                  (2) Once the charging party or
                                                Accordingly, under 24 CFR 50.19(c)(3),                  the availability of residential real estate-           plaintiff satisfies the burden of proof set
                                                this rule is categorically excluded from                related transactions. The illustrations of             forth in paragraph (c)(1) of this section,
                                                environmental review under the                          unlawful housing discrimination in this                the respondent or defendant has the
                                                National Environmental Policy Act of                    part may be established by a practice’s                burden of proving that the challenged
                                                1969 (42 U.S.C. 4321).                                  discriminatory effect, even if not                     practice is necessary to achieve one or
                                                Executive Order 13132, Federalism                       motivated by discriminatory intent,                    more substantial, legitimate,
                                                                                                        consistent with the standards outlined                 nondiscriminatory interests of the
                                                   Executive Order 13132 (entitled
                                                                                                        in § 100.500.                                          respondent or defendant.
                                                ‘‘Federalism’’) prohibits an agency from
                                                publishing any rule that has federalism                 *     *     *     *     *                                 (3) If the respondent or defendant
                                                implications if the rule either: (i)                                                                           satisfies the burden of proof set forth in
                                                Imposes substantial direct compliance                   Subpart G—Discriminatory Effect                        paragraph (c)(2) of this section, the
                                                costs on state and local governments                    ■ 3. Revise § 100.500 to read as follows:              charging party or plaintiff may still
                                                and is not required by statute, or (ii)                                                                        prevail upon proving that the
                                                preempts state law, unless the agency                   § 100.500    Discriminatory effect prohibited.         substantial, legitimate,
                                                meets the consultation and funding                         Liability may be established under the              nondiscriminatory interests supporting
                                                requirements of section 6 of the                        Fair Housing Act based on a practice’s                 the challenged practice could be served
                                                Executive Order. This proposed rule                     discriminatory effect, as defined in                   by another practice that has a less
                                                would not have federalism implications                  paragraph (a) of this section, even if the             discriminatory effect.
                                                and would not impose substantial direct                 practice was not motivated by a                           (d) Relationship to discriminatory
                                                compliance costs on state and local                     discriminatory intent. The practice may                intent. A demonstration that a practice
                                                governments or preempt state law                        still be lawful if supported by a legally              is supported by a legally sufficient
                                                within the meaning of the Executive                     sufficient justification, as defined in                justification, as defined in paragraph (b)
                                                Order.                                                  paragraph (b) of this section. The                     of this section, may not be used as a
                                                                                                        burdens of proof for establishing a                    defense against a claim of intentional
                                                Unfunded Mandates Reform Act
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                                                                                                        violation under this subpart are set forth             discrimination.
                                                  Title II of the Unfunded Mandates                     in paragraph (c) of this section.
                                                Reform Act of 1995 (2 U.S.C. 1531–                         (a) Discriminatory effect. A practice                 Dated: June 17, 2021.
                                                1538) (‘‘UMRA’’) establishes                            has a discriminatory effect where it                   Jeanine Worden,
                                                requirements for federal agencies to                    actually or predictably results in a                   Acting Assistant Secretary, Office of Fair
                                                assess the effects of their regulatory                  disparate impact on a group of persons                 Housing and Equal Opportunity.
                                                actions on state, local, and tribal                     or creates, increases, reinforces, or                  [FR Doc. 2021–13240 Filed 6–24–21; 8:45 am]
                                                governments, and on the private sector.                 perpetuates segregated housing patterns                BILLING CODE 4210–67–P



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